   Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21               Page 1 of 31 PageID 5


CVC.25752
                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
 RICKY R. FOWLER,                   §
             Plaintiff,             §
                                    §
 vs.                                §
                                    §                       3:21-cv-778
                                         CIVIL ACTION NO. ________________
                                    §
 FITNESS INTERNATIONAL, LLC         §
 d/b/a LA FITNESS,                  §
             Defendant.             §

                       DEFENDANT’S INDEX OF DOCUMENTS

       The following Exhibits are relied upon and incorporated by reference in Defendant’s

Notice of Removal:

              A. Civil Cover Sheet;

              B. Supplemental Civil Cover Sheet;

              C. Defendant’s List of Attorneys Involved in the Case;

              D. Defendant’s Index of Documents;

                     1. State Court Docket Sheet;

                     2. Plaintiff’s Original Petition, filed March 1, 2021;

                     3. Citation and Return of Service; and

                     4. Defendant’s Original Answer.




DEFENDANT FITNESS INTERNATIONAL, LLC’S INDEX OF DOCUMENTS                           PAGE 1
   Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21             Page 2 of 31 PageID 6



                                           Respectfully submitted,

                                           FLETCHER, FARLEY, SHIPMAN
                                           & SALINAS, L.L.P.


                                           /s/ Jeffrey D. Smith
                                           DOUGLAS D. FLETCHER
                                           State Bar No. 07139500
                                           Email: doug.fletcher@fletcherfarley.com
                                           JEFFREY D. SMITH
                                           State Bar No. 24063008
                                           Email: jeffrey.smith@fletcherfarley.com
                                           MATTHEW B. SKIDMORE
                                           State Bar No. 24106941
                                           Email: matthew.skidmore@fletcherfarley.com
                                           9201 N. Central Expressway, Suite 600
                                           Dallas, Texas 75231
                                           (214) 987-9600 (office)
                                           (214) 987-9866 (telecopier)

                                           ATTORNEYS FOR DEFENDANT
                                           FITNESS INTERNATIONAL, LLC


                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing instrument was electronically filed via the Court’s
CM/ECF system and a true and correct copy of same was delivered to all counsel of record in
accordance with the FEDERAL RULES OF CIVIL PROCEDURE on this the 5th day of April, 2021.


                                           /s/ Jeffrey D. Smith
                                           JEFFREY D. SMITH




DEFENDANT FITNESS INTERNATIONAL, LLC’S INDEX OF DOCUMENTS                              PAGE 2
Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 3 of 31 PageID 7




                               A
    JS 44 (Rev. 10/20) - TXND (10/20)
                                                        CIVIL COVER
                                  Case 3:21-cv-00778-C Document 1-1 FiledSHEET
                                                                          04/05/21                                                                                                          Page 4 of 31 PageID 8
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local ru les of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INS711UC710NS ON NEXT PAGE OF THIS FORM)
    I. (a) PLAINTIFFS                                                                                                                                  DEFENDANTS

               RICKY R. FOWLER                                                                                                                         FITNESS INTERNATIONAL, LLC d/b/a LA FITNESS

       (b) County of Residence of First Listed Plaintiff                                  Dallas County, Texas                                         County of Residence of First Listed Defendant                         Orange County, California
                                              (EXCEPT IN U.S. PLAIN71FFCASES)                                                                                                                   {IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                                                       NOTE:          IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                      THE TRACT OF LAND INVOL YEO.

       (C) Attorneys (Firm Name, Address, and Telephone Number)                                                                                         Attorneys (ff Known)
               I. Scott Lidji, The LIDn Firm, 10440 N. Central Expwy., Ste.                                                                            Jeffrey D. Smith, Fletcher Farley Shipman & Salinas, LLP, 9201
               1240, Dall as, Texas, 75231, 972-223-7455                                                                                               N. Central Expwy., 6th Fl., Dall as, Texas, 75231, 214-987-9600
    II. BASIS OF JURISDICTION (Place an                                            "X" in One Box Only)                            Ill CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                     "X" in One Box/or Plaint/fl
                                                                                                                                                 (For Diversity Cases Onl;j                                                  and One Box/or Defendant)
D     1     U.S. Government                            03      Federal Question                                                                                                       PTF          DEF                                         PTF       DEF
               Plaintiff                                          (U.S. Government Not a Party)                                          Citizen of This State                        [R]   I     D    I   Incorporated or Principal Place     D     4   D4
                                                                                                                                                                                                             of Business 111 This State

D 2         U.S. Government                            04      Diversity                                                                 Citizen of Another State                     D     2     D    2   Incorporated and Principal Place    D     5   [R]5
               Defendant                                          {Indicate Citizenship of Parties in Item Ill)                                                                                              of Business In Another State

                                                                                                                                         Citizeu or Subject of a                      D     3     D   3    Foreign Nation
                                                                                                                                           Foreign Country
    JV. NATURE OF SUIT (Place an                                  "X" in One Box On/;1                                                                                                      Cl ick here for: Nature of Suit Code Descri tions.
                CONTRACT                                                                TORTS                                                FORFEITURE/PENALTY                                     BANKRUPTCY                      OTHER STATUTES




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      110 Insurance                                     PERSONAL INJURY                            PERSONAL INJURY                            625 Drug Related Seizure                           422 Appeal 28 USC 158            375 False Claims Act
      120 Marine                                       310 Airp lane                         D 365 Personal I11ju1y -                             of Property 21 USC 881                         423 Withdrawal                   376 Qui Tam (31 USC
      130 Miller Act                                   315 Airplane Product                        Product Liabi lity                         690 Other                                              28 USC 157                        3729(a))
      140 Negotiable Instrument                            Liability                         O 367 Healt h Care/                                                                                                                  400 State Reapportionment
D     150 Recove,y of Overpayment                      320 Assault, Libel &                            Phannaceutical                                                                            PROPERTY RIGHTS                  410 Antitrust
          & Enforcement of Judgment                        Slander                                     Personal Injury                                         820 Copyrights                                                     430 Banks and Banking
D     151 Medicare Act                                 330 Federal Employers'                          Product Liability                                       830 Patent                                                         450 Commerce
D     152 Recovery of Defaulted                            Liability                         D     368 Asbestos Personal                                       835 Patent - Abbreviated                                           460 Deportation
          Student Loans                                340 Marine                                       Injury Product                                             New Drug Application                                           4 70 Racketeer Influenced and
          (Excludes Veterans)                          345 Marine Product                          Liability        1------------,□ 84 0 Trad em ark                                                                                   Corrupt Organizations
D     153 Recovery of Overpayment                          Liability                          PERSONAL PROPERTY l=r:-c-:-::--,-c"L"cA""B""Oc:'R"--,--,------1O 880 Defend Trade Secrets                                           480 Consumer Credit
          of Veteran's Benefits                        350 Motor Veh icle                    D 370 Other Fraud       7 10 Fair Labor Standards                     Act of20l6                                                          ( 15 USC 1681 or 1692)
D     160 Stockholders' Suits                          355 Motor Veh icle                    D 371 Trnth in Lending         Act                                                                                                   485 Telephone Consumer
D     190 Other Contract                                   Product Liabi lity                D     380 Other Personal                        720 Labor/Management                                SOCIAL SECURITY                       Protection Act
D     195 Contract Product Liability               x   360 Other Personal                              Property Damage                            Relations                                      86 1 HIA (1395ft)                490 Cable/S at TV
D     196 Franchise                                        Injury                            D     385 Property Damage                       740 Railway Labor Act                               862 Black Lung (923)             850 Securities/Commodities/
                                                       362 Personal I11ju1y -                          Product Liabi lity                    75 1 Family and Medical                             863 DIWC/DIWW (405(g))                Exchange
                                                           Medical Malpractice                                                                    Leave Act                                      864 SSID Tit le XVI              890 Other Stat uto,y Actions
l-.-:-,c-::-:R_E_•A.,....,L,..P_R.,.O_P_E_R--:T_Y_ _-+--,-,--:C-:-I-:V,-I,..L_R..,,,.IG_,,H,,...,,.T,"S.,.---+-P-R__l-"S-"O-'-N_E~R:-P_E_T_I_T_IO_N_S--t 790 Other Labor Litigation              865 RSI (405(g))                 89 1 Agricultural Acts
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  210       Land Condemnation                          440 Other Civi l Rights                    Habeas Corpus:                             791 Employee Retirement                                                              893 Environmental Matters
D 220       Foreclosure                                441 Voting                                 463 Alien Detainee                             Income Security Act                             FEDERAL TAX SUITS                895 Freedom of Information
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§ 230
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            Rent Lease & Ejectment
            Toi1s to Land
            Tort Product Liability
            A ll Other Real Property
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                                                           Employment
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                                                           Accommodations
                                                       445 Amer. w/Disabilities -
                                                                                                  5 IO Motions to Vacate
                                                                                                      Sentence
                                                                                                  530 General
                                                                                                  535 Death Penalty                              IMMIGRATION
                                                                                                                                                                                                 870 Taxes (U.S. Plaintiff
                                                                                                                                                                                                     or Defendant)
                                                                                                                                                                                                 871 IRS- Third Party
                                                                                                                                                                                                      26 USC 7609
                                                                                                                                                                                                                                       Act
                                                                                                                                                                                                                                  896 Arbitration
                                                                                                                                                                                                                                  899 Administrative Procedure
                                                                                                                                                                                                                                      Act/Review or Appeal of
                                                           Employment                             Other:                                     462 Naturalization Application                                                           Agency Decision
                                                       446 Amer. w/Disabi lities -                540 Mandamus & Other                       465 Other Immigration                                                                950 Constitutionality of
                                                           Other                                  550 Civil Rights                               Actions                                                                              State Statutes
                                                       448 Education                              555 Prison Condition
                                                                                                  560 Civil Detainee -
                                                                                                      Conditions of
                                                                                                        Confinement
V. ORIGIN (Place an                      "X" in One Box Onl;j
0     1   Original                02 Removed from                              □ 3          Remanded from                      D4        Reinstated or            D     5 Transferred from                 D   6 Multidistrict         D8     Multidistrict
          Proceeding                 State Court                                            Appel late Court                             Reopened                         Another District                       Litigation -                 Litigation -
                                                                                                                                                                            (specify)                            Transfer                     Direct File
                                                         Cite the U.S. Civil Statute under which you are fi ling (Do 1101 citej11risdictio11al statutes 1111less diversit;f
VI. CAUSE OF ACTION 28_ U.S.C . 1332 1441 and 1446
                                                         Bnef descnpt1on of cause:
                                                         This lawsuit involves a controvers between citizens of different states. Defendant is a citizen of California.
VII. REQUESTED IN                                       0       CHECK IF THIS IS A CLASS ACTION                                              DEMAND$                                                   CHECK YES only if demanded in complaint:
     COMPLAINT:                                                 UNDER RULE 23 , F.R.Cv.P.                                                                                                              JURY DEMAND:                0Yes        □ No
VIII. RELATED CASE(S)
                                                              (See instructions):
      IF ANY
DATE
04/05/2021
FOR OFFICE USE ONLY

      RECEIPT#                               AMOUNT                                                     APPL YING IFP '                                                  JUDGE                                    MAG.JUDGE
Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 5 of 31 PageID 9




                               B
      Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21                             Page 6 of 31 PageID 10
Supplemental Civil Cover Sheet
Page 1 of2


                        Supplemental Civil Cover Sheet for Cases Removed
                                       From State Court


This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S. District
                  Clerk's Office. Additional sheets may be used as necessary.


    1. State Court Information:

        Please identify the court from which the case is being removed and specify the number assigned
        to the case in that court.

                                 Court                                                 Case Number
         14th Judicial District Couit, Dallas County, Texas       DC-21-02584



    2. Style of the Case:

        Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s), Crossclaimant(s)
        and Third Party Claimant(s) still remaining in the case and indicate their party type. Also, please
        list the attorney(s) ofrecord for each party named and include their bar number, firm name,
        correct mailing address, and phone number (including area code).

                        Partv and Partv Tvoe                                             Attornev(s)
        Plaintiff Ricky R. Fowler                                I. Scott Lidji, State Bar No. 24000336, The LIDJI Firm, 10440
                                                                 N. Central Expwy., Ste. 1240, Dallas, TX, 75231, 972-223-7455
        Defendant Fitness International , LLC d/b/a LA Fitness    Jeffrey D. Smith, State Bar No . 24063008, Fletcher Farlev
                                                                  Shipman & Salinas, LLP, 9201 N. Central Expwy., 6th Fl. ,
                                                                  Dallas, TX, 7523 1, 214-987-9600


   3. Jury Demand:

        Was a Jury Demand made in State Court?                   [Z]Yes
                If" Yes," by which party and on what date?

                 Plaintiff Ricky R. Fowler                                      03/01/2021
                Party                                                           Date
       Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21                                   Page 7 of 31 PageID 11
Supplemental Civil Cover Sheet
Page 2 of2

    4. Answer:

        Was an Answer made in State Court?                    [2J Yes
                 If "Yes," by which party and on what date?

                     Defendant Fitness International, LLC d/b/a LA Fitness             0312612021
                 Party                                                                Date


    5. Unserved Parties:

        The following parties have not been served at the time this case was removed:

                                   Partv                                            Reason(s) for No Service
        NIA




    6. Nonsuited, Dismissed or Terminated Parties:

        Please indicate any changes from the style on the State Court papers and the reason for that
        change:

                                   Partv                                                       Reason
         NIA




    7. Claims of the Parties:

        The filing party submits the following summary of the remaining claims of each party in this
        litigation:

                                   Partv                                                       Claim(s)
         Plaintiff                                                   Plaintiff asserts a premises liability claim against Defendant
                                                                     for injuries allegedly sustained on July 27, 2020.
Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 8 of 31 PageID 12




                               C
  Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 9 of 31 PageID 13


CVC.25752
                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION
 RICKY R. FOWLER,                   §
             Plaintiff,             §
                                    §
 vs.                                §
                                    §                       3:21-cv-778
                                         CIVIL ACTION NO. ________________
                                    §
 FITNESS INTERNATIONAL, LLC         §
 d/b/a LA FITNESS,                  §
             Defendant.             §

                   DEFENDANT FITNESS INTERNATIONAL, LLC’S
                   LIST OF ATTORNEYS INVOLVED IN THE CASE

       Defendant FITNESS INTERNATIONAL, LLC (“Defendant”) files this List of

Attorneys Involved in the Case.

       Attorneys for Plaintiff Ricky R. Fowler
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       Fax: 214-753-4751
       Firm Email: legal@thelidjifirm.com
       Firm Website: www.badpill.com




DEFENDANT FITNESS INTERNATIONAL, LLC’S
LIST OF ATTORNEYS INVOLVED IN THE CASE                                  Page 1
 Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21          Page 10 of 31 PageID 14



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     Matthew B. Skidmore
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     9201 N. Central Expressway, Suite 600
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     Fax: (214) 987-9866



                                       Respectfully submitted,

                                       FLETCHER, FARLEY, SHIPMAN
                                       & SALINAS, L.L.P.

                                       /s/ Jeffrey D. Smith
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                                       MATTHEW B. SKIDMORE
                                       State Bar No. 24106941
                                       Email: matthew.skidmore@fletcherfarley.com
                                       9201 N. Central Expressway, Suite 600
                                       Dallas, Texas 75231
                                       Office: (214) 987-9600
                                       Fax: (214) 987-9866

                                       ATTORNEYS FOR DEFENDANT
                                       FITNESS INTERNATIONAL, LLC




DEFENDANT FITNESS INTERNATIONAL, LLC’S
LIST OF ATTORNEYS INVOLVED IN THE CASE                                              Page 2
  Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21             Page 11 of 31 PageID 15



                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing instrument was electronically filed via the Court’s
CM/ECF system and a true and correct copy of same was delivered to all counsel of record in
accordance with the FEDERAL RULES OF CIVIL PROCEDURE on this the 5th day of April, 2021.


                                           /s/ Jeffrey D. Smith
                                           JEFFREY D. SMITH




DEFENDANT FITNESS INTERNATIONAL, LLC’S
LIST OF ATTORNEYS INVOLVED IN THE CASE                                                  Page 3
Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 12 of 31 PageID 16




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Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 13 of 31 PageID 17




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               Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21                  Page 14 of 31 PageID 18



           &'()ÿ+,-./0'12.,
           DC-21-02584I RICKY R FOWLER vs. FITNESS INTERNATIONAL, LLC

           Case Numberÿ                                Court                                     ÿ
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           PLAINTIFF                                                              Active Attorneys ÿ
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           DEFENDANT                                                                           ÿ
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             03/01/2021 ORIGINAL PETITION    D
             ORIGINAL PETITION


             03/01/2021 ISSUE CITATION   D
             ISSUE CITATION - FITNESS INTERNATIONAL, LLC


             03/03/2021 CITATION   D
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             DEF. FITNESS INTERNATIONAL, LLC D/B/A LA FITNESS' ORIG ANS




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           ,-*./0(12
             ORIGINAL PETITION

             ISSUE CITATION - FITNESS INTERNATIONAL, LLC

             CITATION WITH AFFIDAVIT OF SERVICE

             DEF, FITNESS INTERNATIONAL, LLC D/B/A LA FITNESS' ORIG ANS




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Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 16 of 31 PageID 20




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                                                                                                                 FELICIA PITRE
                Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21             Page 17 of 31 PageID      21 DISTRICT CLERK
                                                                                                          DALLAS CO., TEXAS
                                                                                                         Kayla Buckley DEPUTY

                                                   DC-21-02584
                                           CAUSE NO.

           RICKY R. FOWLER                                 §    IN THE DISTRICT COURT
                                                           §
                    Plaintiff,                             §
                                                           §
           v.                                              §    DALLAS COUNTY, TEXAS
                                                           §
                                                           §
           FITNESS INTERNATIONAL, LLC                      §
           D/B/A LA FITNESS
                                                           i      14th
                    Defendant,                             §    _ _ _JUDICIAL DISTRICT

                            PLAINTIFF'S ORIGINAL PETITION AND REQUESTS FOR DISCLOSURE


           TO THE HONORABLE JUDGE OF SAID COURT:

                    COMES NOW, Plaintiff, RICKY R. FOWLER, complaining of Defendant, FITNESS

           INTERNATIONAL, LLC D/B/A LA FITNESS and for cause of action would show unto the Court

           the following:

                                                           I.
                                             PARTIES AND SERVICE

           Plaintiff

           1.       Plaintiff, RICKY R. FOWLER is a resident of Dallas, Texas.

           Defendant

           1.1      Defendant, FITNESS INTERNATIONAL, LLC D/B/A LA FITNESS is a corporation

           authorized to conduct business in the State of Texas and may be served with process by serving its

           registered agent: CT CORPORATION, 818 West Seventh Street, Suite 930, Los Angeles,

           California, 9001 7.

                       SERVICE OF THIS DEFENDANTS IS REQUESTED AT THIS TIME

                                                          II.
                                           JURISDICTION AND VENUE
           PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
           PAGEl
  Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21                   Page 18 of 31 PageID 22




2.1     This Court has jurisdiction over the Defendant as it conducts business in the State of Texas

and the amount in controversy exceeds the minimum jurisdictional limit of this Court. Venue is

proper in Dallas County, Texas under the Texas Civil Practices and Remedies Code § 15.002 as

FITNESS INTERNATIONAL, LLC D/B/A LA FITNESS has numerous locations throughout the

Dallas County, Texas area.

                                                  III.
                                                 FACTS

3.1     On July 27, 2020, RICKY R. FOWLER was a business invitee of FITNESS

INTERNATIONAL, LLC D/B/A LA FITNESS, located at 4540 W. Mockingbird Lane, Dallas,

Texas 75209.

3.2     On July 27, 2020, the Plaintiff, a member of Defendant's establishment was working out on

the "stationary bike" when the stationary bike, which was not secured to the ground, fell and the

Plaintiff was throw into the air and when he landed, sustained severe injuries.             FITNESS

INTERNATIONAL, LLC D/B/A LA FITNESS has refused to investigate and process Plaintiffs

claim, forcing Plaintiff to file suit to protect her rights.

3.3     As a result of the Defendant's negligent conduct as well as failing to maintain safe and secure

workout equipment that is anchored to the floor resulted in Plaintiffs injury. Defendant was in

complete control of the flooring in question.

3 .4    Consequently, Plaintiff suffered serious bodily injury as a result of the improperly installed

and improperly secured "stationary bike" in question which was proximately caused by the

dangerous condition of the unsafe and wet floors.

3.5     The Defendant was negligent in its supervision and training of the employee(s) who was

responsible for installing, maintaining and inspecting the gym equipment to ensure it is safe to
PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
PAGE2
     Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21                 Page 19 of 31 PageID 23



operate.

                                              IV.
                                       PREMISES LIABILITY

4.1       Plaintiff was a business invitee on the premises in question.

4.2       FITNESS INTERNATIONAL, LLC D/B/A LA FITNESS is the owner of the property and

stationary bike in question where the incident which forms the basis of this lawsuit occurred.

4.3       The condition of the improperly anchored stationary bike created a dangerous condition on

said premises.

4.4       Defendant knew or reasonably should have known that not anchoring a stationary bike

creates a dangerous condition on said premises.

4.5       Defendant owed a duty to Plaintiff as a business invitee to warn of said dangerous condition

and to make the dangerous condition safe. Defendant breached this duty by failing to warn and

failing to make safe this dangerous condition.

4.6       Said breach of duty by Defendant proximately caused the Plaintiffs injuries complained of

herein.

                                            V.
                                    DAMAGES OF PLAINTIFF

5 .1      As a direct and proximate result of the occurrence made the basis of this lawsuit, Plaintiff

was injured. Plaintiff demands compensation for the following damages.

1.        Reasonable medical care and expenses in the past. These expenses were incurred by Plaintiff

          for the necessary care and treatment of the injuries resulting from the accident complained of

          herein and such charges are reasonable and were usual and customary charges for such

          services;

PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
PAGE3
   Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21 Page 20 of 31 PageID 24
2.     Reasonable and necessary medical care and expenses which will in all reasonable probability

       be incurred in the future;

3.     Physical pain and suffering and mental anguish in the past;

4.     Physical pain and suffering and mental anguish which, in all reasonable probability, will be

       suffered in the future;

5.     Physical impairment;

6.     Physical disfigurement;

7.     Loss of earning capacity in the past and future;

8.     Loss of household services;

9.     By reason of all of the above, Plaintiff, has suffered losses and damages in a sum within the

       jurisdictional limits of the Court and for which this lawsuit is brought.



                                                 VI.
                             PLAINTIFF'S DAMAGES - RULE 47

6.1.       Plaintiff refers to all the preceding and subsequent pleadings in this petition and

incorporated herein by this reference for all purposes.

6.1.      Pursuant to the provisions of Rule 4 7 of the Texas Rules of Civil Procedure, Plaintiff

alleges that the damages sought by Plaintiff are within the jurisdictional limits of the Court and

Plaintiff seeks monetary relief over $250,000.00 and less than $1,000,000.00. Plaintiff further

alleges that any award for damages is ultimately left to the purview of the jury. Therefore, Plaintiff

seeks judgment for all other relief to which Plaintiff may be entitled.

6.3    As a direct and proximate result of the wrongful conduct of Defendant, as alleged herein,

Plaintiff has sustained both property damages as well as medical injuries, including past and future

pain and suffering, past and future lost wages, and economic damages.

PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
PAGE4
   Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21 Page 21 of 31 PageID 25
                                     VII.
                         REQUEST FOR DISCLOSURE

7 .1    Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Plaintiff requests Defendant to

disclose within fifty (50) days of service of this request, the information and material described in

Rule 194. Plaintiff further requests that the responding parties produce the responsive documents at

The LIDJI Firm in fifty (50) days of service of this request. This Request was initially served on

Defendant with Plaintiffs Original Petition.

                                               VIII.
                                           JURY DEMAND

8.1     Plaintiff requests a trial by jury in this matter.

                                              IX.
                                      DOCUMENTS TO BE USED

9 .1    Pursuant to Rule 193. 7 of the Texas Rules of Civil Procedure, Plaintiff intends to use all

documents exchanged and/or produced between, by, or among any parties in this matter, including

but not limited to, correspondence, discovery responses, and records (obtained via depositions upon

written questions, by subpoena, by affidavit, or otherwise), during the trial of the above-entitled and

numbered cause. Moreover, Defendant is put on notice not to destroy any evidence, including, but

not limited to reports, files, inter-office emails, intra-office emails, emails from the store from the

corporate office, and/or any communication whatsoever related to the defective gas nozzle that

resulted in the Plaintiffs incident on July 27, 2020. Furthermore, this notice includes preserving any

and all videotape surveillance of the incident in question as well as any evidence related to the

relocation of the fall in question.

                                                 X.
                                               PRAYER




PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
PAGES
  Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21                   Page 22 of 31 PageID 26
       WHEREFORE PREMISES CONSIDERED, Plaintiff asks that the Court issue citation for

Defendant to appear and answer, and that Plaintiff be awarded a judgment against Defendant for the

following:

        a.     Judgment against Defendant for damages as pled or otherwise, both general

               and special;

        b.     Pre-judgment and post-judgment legal interest as provided by law;

        c.     Past and future reasonable medical expenses;

        d.     Past and future pain and suffering and mental anguish;

        e.     Past and future physical impairment;

        f.     Past and future physical disfigurement;

        g.     Past and future lost wages and earning capacity;

        h.     Costs of court; and

        1.     Such other and further relief, both general and special, at law or in equity, to

               which Plaintiff may show himself justly entitled.

                                                      Respectfully submitted,

                                                      The LIDJI Firm


                                                      Isl I. Scott Lidii
                                                      I. SCOTT LIDJI
                                                      Texas Bar No. 24000336
                                                      scott@thelidj ifirm. com
                                                      MARY JO R. BETZEN
                                                      SBN: 24089054
                                                      maryjo@thelidjifirm.com
                                                      Meadow Park Tower
                                                      10440 N. Central Expressway
                                                      Suite 1240
                                                      Dallas, Texas 75231
                                                      legal@thelidjifirm.com
                                                      Toll Tel: (800) BAD-PILL
PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
PAGE6
 Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21 Page 23 of 31 PageID 27
                                        Toll Fax: (844) BAD-PILL
                                        (Tel)     (972) BAD-PILL; (972) 223-7455
                                        (Fax)      (214) 753-4751
                                        Website: BADPILL.COM
                                        ATTORNEYS FOR PLAINTIFF




PLAINTIFF'S ORIGINAL PETITION & REQUESTS FOR DISCLOSURE
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Case 3:21-cv-00778-C Document 1-1 Filed 04/05/21   Page 24 of 31 PageID 28




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FORM NO. 353-3 - CITATION                                                                                                               Jr.SERVE
THE STATE OF TEXAS                                                                                                                   ClTATION

To:     FITNESS INTERNATIONAL, LLC DJBIA LA FITNESS
         BYSE!tVING REGISTERED AGENT, CT CORPORATION                                                                                DC-2l-02584
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         LOS ANGELES CALIFORNIA !10Dl7
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GREETINGS:                                                                                                                                  ""·
                                                                                                                             FITNESS INTERNATIONAL, LLC
You have been srred. You may employ an attorney. If you or your attorney do not file a written answer v.~th the
clerk who issued this ci1ation by IO o'clock a.m. of the Monday mm following the expiration of twenty days after
you.were served this citation and petition, a default judgment may IJe taken against you. In addition to filing a written
answer with the clerk, you may ~e required to make initial disclosures to the other parties of this suit. Those                     ISSUEDTH[S
disclooures generally mus! be made no later than 3 0 days after you file your answer with Ibo clerk Find out more at            3rd day of March, 2021
TexaslawHelp.org. Your answer should be addressed to the clerk of Ibo 14th Distrid Court at 600 Commeroo
Street, Ste. 101, Dallas, Texas 75202.
                                                                                                                                 FELICIA PITRE
Said Plair,tiff being RICKY R FOWL ER                                                                                           Clerk District Courts,
                                                                                                                                Dallas Counly, Texas
Filed in said Court 1st day of March, 2021 against

FITNESS INTERNATIONAL, LLC                                                                                                  By: ANGELA CONEJO, Deputy
For Sui!, said suit being numbered DC-21-02584, the nature of which demand fa as follows:
Suit on PROPERTY etc. as shown on said petition & REQUEST FOR DISCWSURE,                                                        Attorney for Plaintiff
a copy of whicli accompanies this citation. If this cttation is not served, it shall be returned unexecuted.                        I SCOTT LIDJI
                                                                                                                                    THE UM FIRM
WITNESS: FELICIA PITRE, Cleric of the District Courts of Dallas, County Texas.                                               ID440 N CENTRAL EXPY,STE 1240
                                                                                                                                  DALLAS TEXAS 75231
Given under ID)' hand and the Seal of said Court al office this 3rd day of March, 2021.                                                972-223-7455
                                                                                                                                 scott@thelidjifirm.com
ATTEST: FELICIA PITRE, Clerk of the Distri

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                                                                        OFFICER'S RETURN
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Court No.14111 Dislrlct Court
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 For. The LIDJI Firm                       I


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